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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK


 CITIBANK, N.A.,

                                 Plaintiff,
                                                                 No. 20 Civ. 06539 (___)
                v.

 BRIGADE CAPITAL MANAGEMENT, LP,

                                 Defendant.



    [PROPOSED] ORDER TO SHOW CAUSE FOR TEMPORARY RESTRAINING
        ORDER AND PRELIMINARY INJUNCTION AGAINST BRIGADE


       WHEREAS, the Court having considered Plaintiff Citibank, N.A.’s (“Citibank”)

Memorandum of Law Support in Support of Citibank’s Application for a Temporary Restraining

Order and Preliminary Injunction (the “Application”) against Defendant Brigade Capital

Management, LP (“Brigade”), together with the supporting Declarations of Mitali Sohoni,

Brendan Zeigon, and Matthew Ingber (the “Declarations”), as well as the record and proceedings

to date in the above-captioned action.

       IT IS HEREBY ORDERED that Citibank’s Application is GRANTED in its entirety. It

is hereby further ORDERED that:

       1.      Defendant must appear before The Honorable ____________________________,

District Judge, United States District Court for the Southern District of New York, on August ___,

2020, at ____ a.m./p.m., in the United States Courthouse, 500 Pearl Street/40 Foley Square, New

York, New York 10013, and show cause (the “Show Cause Hearing”) as to why the Court should

not enter an Order, pursuant to FED. R. CIV. P. 65(a), that:

       a.      Preliminarily requires Brigade to remit to Citibank funds in the amount of

               $174,651,497.63, pending a final determination on the merits in this action; or, in

               the alternative, that

       b.      Preliminary enjoins Brigade, its officers, agents, employees, successors, and all

               those in active concert or participation with them from removing, withdrawing,

               transferring, assigning, or otherwise disposing of the 174,651,497.63 mistakenly

               transferred to Brigade by Citibank on August 11, 2020, pending a final

               determination on the merits in this action.




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        3.      Sufficient reason having been shown therefor, from the date of this Order, through

and including the date of the Show Cause Hearing, Brigade, its agents, servants, employees,

officers and all persons and entities in active concert and participation with them, are hereby

temporarily restrained, pursuant to FED. R. CIV. P. 65(b), from engaging in any of the acts and/or

conduct described in Paragraph 1(b) of this Order.

        3.      Pursuant to this Court’s equitable powers and discretion, Citibank need not post a

bond.

        4.      Citibank and/or its authorized representative(s) must serve a copy of this Order,

together with Citibank’s Memorandum of Law, and the Declarations, in Support of Citibank’s

Application, on Brigade and/or Brigade’s registered agent via personal service, email, and/or First

Class Mail at 399 Park Avenue, Suite 1600, New York, NY 10022, on or before August ___, 2020

at _____ a.m./p.m. The foregoing shall constitute proper service and notice of this Order.

        5.      This Court shall retain jurisdiction to hear and determine all matters arising out of,

relating to, and/or otherwise concerning the interpretation and/or enforcement of this Order.



SO ORDERED this ___ date of August, 2020

_______________________
United States District Judge




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